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IN THE UNITED sTATEs DISTRICT coURT F"£D B" --

FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

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MARION S. EVANS,
Plaintiff,
No. 05-2404FB/P

VS.

SHELBY COUNTY DIVISION OF
CORRECTIONS, et al.,

Defendants.

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ORDER GRANTING LEAVE TO PROCEED l§ FORMA PAUPERIS
ORDER CORRECTING THE DOCKET
ORDER OF PARTIAL DISMISSAL
AND
ORDER TO ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff Marion S. Evans filed a p;p 4§§ complaint
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. §
2000e pp segp, the Age Discrimination in Employment Act, 29 U.S.C.
§ 621 pp §§gp, and the Family and Medical Leave Act of 1993, 29
U.S.C. § 6201 pp ppgp, on June 2, 2005, along with a motion seeking
leave to proceed ip fp;ma pauperis. The Court issued an order on
June l4, 2005 directing the plaintiff, within thirty days, to file
a properly completed ip fpppa pauperis affidavit or pay the civil
filing fee. Plaintiff filed another ip fp;ma pauperis affidavit on
July 7, 2005. Based on the information contained in the plaintiff’s

affidavit, the motion to proceed ip forma pauperis is GRANTED. The

 

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Clerk shall record the defendants as the Shelby County Division of
Corrections (“SCDC”), George Little, Rod Bowers, Mary Garrett, and
George Schellman.

The Court is required to screen pp fpppa pauperis
complaints and to dismiss any complaint, or any portion thereof, if
the action_

(i) is frivolous or malicious;

(ii) fails to state a claim on which relief may be
granted; or

(iii} seeks monetary relief against a defendant who
is immune from such relief.

28 U S.C. § 1915(e)(2). One aspect of plaintiff’s complaint is
subject to dismissal.

There is no remedy under the employment discrimination
laws against a co-worker or supervisor in his or her individual
capacity. Wathen v. General Electric Co., 115 F.3d 400, 405 (6th
Cir. 1997). Similarly, only “employers” are liable under the FMLA.
29 U.S.C. § 6217. Accordingly, the Court DISMISSES the complaint
with respect to defendants Little, Bowers, Garrett, and Schellman,
pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii), for failure to state a
claim on which relief may be granted.

It is ORDERED that the Clerk shall issue process for the
remaining defendant, the SCDC, and deliver said process to the
marshal for service. A copy of this order shall be served on the

defendant along with the summons and complaint. Service shall be

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made on the defendant pursuant to Fed. R. Civ. P. 4(j)(2) and Tenn.
R. Civ. P. 4.04(9). All costs of service shall be advanced by the
United States.

It is further ORDERED that the plaintiff shall serve a
copy of every further document filed in this cause on the attorney
for the defendant, or on the defendant if it has no attorney. The
plaintiff shall make a certificate of service on every document
filed. The plaintiff shall familiarize herself with the Federal
Rules of Civil Procedure and this Court’s Local Rules.

The plaintiff shall promptly notify the Clerk of any
change of address or whereabouts. Failure to comply with these
reguirements, or any other order of the Court, may result in this

case being dismissed without further notice.

 

IT rs so ORDERED this Mday of Augusc 2005.
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IT D STATES DISTRI\CT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02404 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

Marion S. Evans

3545 Old Brownsville Rd.

Bartlett, TN 38135

Honorable J. Breen
US DISTRICT COURT

